       Case: 1:15-cv-10931 Document #: 1 Filed: 12/04/15 Page 1 of 11 PageID #:1




                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

                                                                           REcEIvED-
                                                                             ''or{n;'r?,,tY
                                              )
                                              )         .,'IL ACTI,N
(Name of the plaintiff or plaintiffs)         )
                                                                          "-J[:J*XB"$S?['*t
                                              )
                                              )   15-cv-10931
C
     i\ L!!sr,, ,.)cr;c%l                         Judge John Robert BlakeY
     Dr AJJi. M..iq. "                        l
                                                  lf,agistrate Judge Susan E. Gox
                                              )
                                              )
(Name of the defendant or defendants)         )



                     COMPLAINT OF EMPLOYMENT DISCRIMINATION

1.   This is an action for employment discriminqtion.

2.          is C^^*'cL,^"'.
     rhe praintiff                         -t        AJ Dh r/ t e't                         of the

county or F\ n- c o,,,r                            in the state of   T-1 I r rt cn 5
3. The defendant is C       i                                o   \ Cx,
street address       W.
                 is ))   dt  U  jo'<-lcson
         \
1.ny;C f-icog @oung (d-zrl( (state) V.    @r\ Ac6cL
(De fendant' s telephone number)        GB_ q S3- .Z-S-u"o
4.   The plaintiff sought employment or^was employed by the defendant at (street address)

     \Docll 9, UtJcrz,J't.a\^Jn                                  rritvl   Ch)cqo  tJ
     r"ouny>     C.nS)c     lstutey   d.        gw   coael   6 ccLZ-So
        Case: 1:15-cv-10931 Document #: 1 Filed: 12/04/15 Page 2 of 11 PageID #:2




5.    The plaintiff lcheck one boxl

      (u)E       was denied employment bythe defendant.


      @)W        was hired and is still employed by the defendantratt        (oo,.   w-<
      (.)E        was employed but is no longer employed bythe defendant.


6. The defendant discriminated against the plaintiff on or about, or beginnfg           on or about,   ,

      (month;   Jti vr-Q ,(day)-,(yea)?oO?                               fu^Ol ('or$11              u't11   j    l4t*L"v1


7.I      (Choose paragraph 7.1     or 7.2, do not complete both.)
                 (a) The defendant is not a federal governmental      agency, and the   plaintiff   lcheck

                     one   boxl    Zrorffiro,          filed   a charge or charges against the defendant


asserting the acts of discrimination indicated in this complaint with any of the following

govemment agencies:


          (D p        ,n. United   States Equal Employment Opportunity Commission, on or about

                 (month)   lllaty           Ou   .9_E_1year) ?ot7                ord         € -o*              zol   4
                                   l
          (ii) prfr.Illinois Department of Human Rights, on or about
               (month) J tr wQ- (da9-32-(year) 70 I O
      (b) If charges were fied with an agency indicated   above, a copy of the charge is


attached.     p vnS. E             *O, but plaintiff will file a copy of the charge within     14 days.


It is the policy of both the Equal Employment Opportunity Commission and the Illinois
Department of Human Rights to cross-file with the other agency all charges received. The
plaintiff has no reason to believe that this policy was not followed in this case.


7.2       The defendant is a federal governmental agency, and
          (a) the plaintiff previously filed a Complaint of Employment Discrimination with the

          defendant asserting the acts of discrimination indicated in this court complaint.
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                   n           Yes (month)                         (day)_        (year)

                   tr        No, did not file Complaint of Employment Discrimination

      (b)    The plaintiff received a Final Agency Decision on (month)
             (day)                 (year)

      (c)    Attached is a copy of the

             (i) Complaint
                  -        of Employment Discrimination,

                   E              E    *O, but a copy will be filed within    14 days.
                         "ut
             (ii) Final Agency Decision


                   E               E    *o,   but a copy will be filed within 14 days.
                         "us
8.    (Complete paragraph 8 only if defendant is not afederal governmental agency.)


      (")n         the United States Equal Employment Opportunity Commission has not issued


                   aNotice of Right to Sue.


      0)M          the United States Equal Employment Opportunity Commission has issued a

                   Notice of Right to Sue, which was received by the plaintiff on
                   (month)   9ephm[er @ui-3-$"ur)-2oJ-C-a                           copy of which
                   Notice is attached to this complaint.


9.    The defendant discriminated against the plaintiff because of the plaintiff s fcheck only

      those that applyl:
              ,.
      @>W Me         (Age Discrimination Employment Act).

      OlMobr            (Title VII of the Civil Rights Act   of   1964 and42 U.S.C. $1981).
      Case: 1:15-cv-10931 Document #: 1 Filed: 12/04/15 Page 4 of 11 PageID #:4




       (.)E    Disability (Americans with Disabilities Act or Rehabilitation Act)

       (d)E    National Origin (Title VII of the Civil Rights Act         of 1964 and42U.S.C.     $1931).

       (.)E    Race (Title    VIIof   the Civil Rights Act   of   1964 and42 U.S.C. $1931).

       (DE     Religion (Title VII of the Civil Rights Act        of 1964)
       (g)E     Sex (Title   VII of the Civil Rights Act of 1964)

10.    If the defendant is a state, county, municipal (city, town or village) or other local
       governmental agency, plaintiff further alleges discrimination on the basis of race, color,
       or national origin (42 U.S.C. $ 1983).

11.    Jurisdiction over the statutory violation alleged is confened as follows: for Title       VII
       claims by 28 U.S.C.$r33r,28 U.S.C.$1343(a)(3), and42 U.S.C.$2000e-5(0(3); for

       42 U.S.C.$1981 and $1983 by 42 U.S.C.$1988; forthe A.D.E.A.by42 U.S.C.$12117;

       for the Rehabilitation Act, 29 U.S.C. g 791.


12.    The defendantlcheck only those that applyl


       (u)E       failed to hire the plaintiff.

       (b)E       terminated the plaintiff s employrnent.


       c)E        failed to promote the plaintiff.

       (d)E       failed to reasonably accommodate the plaintiff          s   religion.

       (.)E        failed to reasonably accommodate the plaintiff s disabilities.

       o@          failed to stop harassment;

       te)E        retaliated against the plaintiff because the plaintiffdid something to assert
                   rights protected by the laws identified in paragraphs 9 and 10 above;

       G)E]        other (spec ,ry1,   R* .0r* n *[ p f o,                nA-$ 's c Ag<.5
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       Case: 1:15-cv-10931 Document #: 1 Filed: 12/04/15 Page 5 of 11 PageID #:5



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13.     The facts suppdrting                                                                               E40-al




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                       d-f^S9rn                                  ^rL--,;,);sdh-,>'
14.     IAGE DISCRIMINATION ONLYI Defendant knowingly, intentionally, and willfully
        discriminated against the plaintiff.

15.     The plaintiff demands that the case be tried by      a   jury.p   VnS    E*o
16.      THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
      lcheck only those that applyl


      (u)E         Direct the defendant to hire the plaintiff.

      0)E          Direct the defendant to re-employ the plaintiff.

      r')E         Direct the defendant to promote the plaintiff.

      (0E          Direct the defendant to reasonably accommodate the plaintiff   s   religion.

      (.)E         Direct the defendant to reasonably accommodate the plaintiff   s   disabilities.

      (08          Direct the defendant to (speci$z):                                                  NY*&z S/
       Pu.t
                       r' rwQ._ CA(a-v
                      .h            /
         Case: 1:15-cv-10931 Document #: 1 Filed: 12/04/15 Page 6 of 11 PageID #:6



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                                                         {;"{if

   (e)E          If available, grant the plaintiff appropriate injunctive relief, lost   wages,
                 liquidated/double damages, front pay, compensatory damages, punitive damages,
                 prejudgment interest, post-judgment interest, and costs, including reasonable
                 attorney fees and expert wifiress fees.

   fnl$|         Grant such other relief as the Court may find appropriate.



   (Plaintiffl s signature)



   (Plaintiffs name)

  6*ra4^A.[                               Kt        D^ v't        e)
   (Plaintiff   s street address)

    ( Vu                                  c-l
                     =:h
                      S^
(ciry)   / 4^+u4                    (State)   Yl.    (nP)     62S 2l
(Plaintiff s telephone number)       @9 -       crzi- o7e a
                                                               ,^r" tzf         tf       zot      f
      Case: 1:15-cv-10931 Document #: 1 Filed: 12/04/15 Page 7 of 11 PageID #:7



Emmanue! N. Davies

       V.


Citv Colleses of Chicaso

And Dr. Addie Davis

                                   Addition to the Complaint

The Defendant Ms. Addie Davies was my co-worker in 1997 when I started to work at Olive-
Harvey College. I used to escort her to the parking lot because them parking lot at that time
was without lights.

Ileft Olive-Harvey College and returned few years later. Ms. Davis called me into her office
showed me my documents that I had sent previously for fulltime position. I asked her why my
documents were doing her desk; she replied "l told you that if you need a full time position, you
must see me". I got upset and left her office.

Previously, Ms. Davis has made an inappropriate sexual advancement towards me and when          I


didn't respond, she started to harass me by coming to my classroom, in front of the students
and be-little me.

I complained to Prof. Sylvester Roebuck, who was the Department Chair at that time. He
informed me that he would talk with Ms. Davies, who didn't have her doctoral degree at that
time. Later on Ms. Davis stopped talking with me. Few years, later Ms. Davis got her Doctoral
Degree and she was appointed Department Chair.

Later on Ms. Davis was appointed Chair and later on Dean. She discriminated against me in
employment, harassed me and be-litter me in front of staff members and students.
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                 CHARGE OF DISCRIMINATION                                                AGENCY                        CHARGE NUMBER
 This form is affected by the Privacy Act of l9i4z see privacy act statement
 before completing this form.
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                                                                                                                          2010cF3980
                                                     #10w0622-03
                                                                                         l-l   snoc

                                              Illinois Department of Human Rights and EEOC

 NAME OF CONIPLAINANT (indicate Mr.                Nrs. Mrs.)                                                 TELEPHONE NUMBER (inctude                 area code)
 Mr. Emmanuel N. Davies                                                                                       (773) 992-7s77

 STREET ADDRESS                                                    CITY, STATE AND ZIP CODE                                             DATE OF BIRTH
P.O. Box 268423                                                     Chicago,    Illinois     60626                                           lt
                                                                   }1 D YEAR
NAMEDISTHEEMPLoYER.LABoRoRGANIzATton,eupt,oylvtWICESHIPconatvtrrrge,STATEoR
LOCAL GOVERNMENIAGINCy WHO DTSCRIMTNATED AGATNST ME {rF MORE THAN ONE LIST BELOW)
NAME OF RESPONDENT                             NUMBER OF         TELEPHONE NUMBER (include                                                              area code)
City Colleges of Chicago                                                         EMPLOYEES,                   (312) s53-2s00
                                                                                 MEMBERS
                                                                                  l5+
STREET ADDRESS                                                     CITY, STA E AND ZiP CODE                                               COUf,{TY
226 West Jackson Boulevard                                         Chicago, Illinois 60606                                             Cook (031)
CAUSE OF DISCRIMINATION BASED ON:                                                                           DATE OF DISCRIMINATION
National      Origin                    Retaliation                                                         EARLIEST (ADEA/EPA) LATEST (ALL)
                                                                                                              t2/15/09                            a5t2vt0

                                                                                                            l-l   coNrtNtrrNc AcrroN

THE PARTICULARS OF THE CHARGE ARE AS FOLLOWS:
     I.       A.     ISSUE/BASIS

                     I{ARASSMENT, BEGINNING ON OR ABOUT JUNE, 2OO9 AND
                     CONTINUING THROUGH THE PRESENT (JUNE 22,2010),, BECAUSE OF My
                     NATIONAL ORIGIN. LIBERIA.

              B.     PRTMA FACIE ALLEGATIONS

                        1.   My national origin is Liberia.

                       2.    I have satisfactorily performed my duties   as a part-time mathematics professor
                             at i(esporrdent's Oiive llar"vey camilus, and hav,a been employed lvith Respondent
                             since 1996.
          lof4
I also want this charge filed with the EEOC. I will advise the agencies if I
change my address or telephone number and I will cooperate fully with them     SUBSCRIBED
in the processing of my charge in accordance with their procedures.




                                                                                           Y   SIGNAT




                                 OFFICIAL SEAL
                                KRYSTAL ROGERS
                         NOfAgY PUBLIC. STATE OF ILTINOIS                      I declare under penalty thrt the foregoing is true and correct I swear or affirm
                          lvf/ COMi!4ISS|CN EXPIRES 1 t/ i6t1 (j               that I have read the above charge and that it is true to the best ofmy
                                    CHanceoffi
                   Case: 1:15-cv-10931 Document #: 1 Filed: 12/04/15 Page 9 of 11 PageID #:9
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                                                                                                                                    FEPA
                                                                                                                                    EEOC
                                                                                                                                                                 Agency(ies) Charge


                                                                                                                                                                     44A-2013_0534,
                                                                                                                                                                                             l,J




                                                                                                         0f Human Rights
           Name (indicate   Ur., Ms. M-fi                                               State or tocal          if                                                                    and EEi
           Mr. Emmanuet N. Davies                                                                                                   ltome phone 1tn"t   iffi1                    Date of Birth
          Street Address
                                                                                              City, State and Ztp Code                                                        08-04-195
          P. O.    Box          269423, Chicago, lL 60626




         CITY COLLEGES OF CHICAGO                                                                                                  No. Employees, Members
                                                                                                                                                                  Phone No.
                                                                                                                                                                              1nriffi"
         Street Address                                                                                                            500 or More                       (773) 2e1_6100
                                                                                             City, State and Zlp Code
         OIive-Harvey Coilege
         10001 S. Woodlawn, Chicago,
                                                               tL 6062g

                                                                                                                                                                 Phone No.
                                                                                                                                                                           1tn"tua"   ireffi
     Street Address
                                                                                           City, State and Zlp Code



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   rge    pRRrrcur-RR
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     I   was hired by Respondent
                                 in 1996'                            My,   job title is Adjunct
                                                                                                Lecturer. rn 2o1o and 2011,
    ii,:?ffX,[['ffi',|1:::X?"#;,f+*i:ffieT*$ri:mU:t,y,                                                                      r fired discrimination
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   lbelieve that lhave.been
                               discriminated against
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    1967, as amended.                                                                                                                                  againsr because
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   Sep 10,       2013*                                                                            S*U^ESCRIBED AND SWORN
                                                                                                                         TO BEFORE ME THIS DATE
                                                                                                  \month. day, year)
                     Case: 1:15-cv-10931 Document #: 1 Filed: 12/04/15 Page 10 of 11 PageID #:10

 EEOC Form 5 (1 1/09)


                        CHnncr or DtscntMtNATtoN                                                          Charge Presented            To:                Agency(ies) Charge No(s):
              This form is affected by the Privacy Aclof 1974. See enclosed privacy Act
                     Statement and other information before completing this form.                               I     nenn

                                                                                                                f rroc                                           440-2014-os26g
                                                          lllinois Department Of Human Rights                                                                                  and EEOC
                                                                          State or local Agency, if any
 Name (indicate ML, Ms., Mrs.)                                                                                         Home Phone (lnct. Area            Code)              Date of Birth
                                                                                                                                                                       |
Mr. Emmanuel Davies                                                                                                       (630)       747-5353 |                           08-04-1957
Street Address                                                                   City, State and Zlp Code

P.O, Box 266423, Chicago, IL 60626


Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (lf more than two, list under PARTICULARS below.)
Name                                                                                                                   No. Employees, Members                   Phone No. (lnclude Area Code)

CITY COLLEGES OF CHICAGO. OLIVE HARVEY COLLEGE                                                                          500 or More                                F73lAs1-6100
Street Address                                                                   City, State and ZIP Code
                                                                                                                                             '
10001 S Woodlawn Ave, Ghicago, lL 60628                                                                                          'e.z            '
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                                                                                                                                                           ;"     L-

Name                                                                                                                   No Employees,        Nfe.[1bdis




Street Address                                                                   Clty, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                           DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                                 Earliest  Latest

  l-l *oc. I-l cor-o* E                             5Ex
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       -         E      olHERrspeciry)
                                                                                                                                                 [Tl     cor'rrrr.rurNG    ACroN
THE PARTICULARS ARE (/l addltional paper is needed, attach extra sheet(s)).
  Iwas hired by Respondent in or around 1996. My current position is Adjunct Professor. During my
  employment, I filed Charges of Discrimination against Respondent with the lllinois Department of Human
  Rights and FEOC. Subsequently, I have been denied a promotion anci subjected to harassment and
  different terms and conditions of employment, including, but not limited to, being forced to teach at other
  Respondeni locations. I have complained to no avail.

 I believe I have been discriminated against because of my age, 57 (DOB: August 4,1957), and in retaliation
 for engaging in protected activity, in violation of the Age Discrimination in Employment Act of 1967, as
 amended.

 I also believe I have been discriminated against in retaliation for engaging in protected activity, in violation of
 Title Vll of the Civil Rights Act of 1964, as amended.


I want this charge filed with both the EEOC and the State or local Agency, if any.    I
                                                                                             NOTARY       -   When necessary tor State and Local Agency Requirements
will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their
procedures
                                                                                             I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct                        the best of my knowledge, information and belief.
                                                                                             SIGNATURE OF COMPLAINANT



                                                                                             SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
   Aug 05, 2014                                                                              (month, day, year\

       Date                                    Charging Party Signature
                     Case: 1:15-cv-10931 Document #: 1 Filed: 12/04/15 Page 11 of 11 PageID #:11
  EEOC Form 161 (1 1/09)                   U.S.   Eoual Evrptoynnerut OpponruNtry CoMMtssloN

                                                   DrsrulssaL AND             Nolce oF RtcHTS
 To:      Emmanuel Davies                                                                From: Chicago District Office
          P.O. Box 268423
                                                                                               500 West Madison St
          Chicago, lL 60626                                                                    Suite 2000
                                                                                               Chicago, lL 60661


                              On behalf of person(s) aggrieved whose identity is
                              coNFIDENTIAL (29 CFR 51601
 EEOC Charge No.                              EEOr- Representeitive                                                   Telephone Llo.
                                                  Grace Swierczek,
 440-2A14-05268                                   lnvestigator                                                        (312) 869-8144
 TH E EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

      tl   The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


      tl           Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


      tl           The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

      fl           Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                   discrimination to flle your charge

      E           The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                  information obtained establishes violations of the statutes. This does no1 certify that the respondent is in compliance with
                  the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

      T           The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


     []           Olher (briefly state)



                                                          - NOTICE OF SUIT'RIGFITS                  -
                                                    (See the additional information attached to this form.)

Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that wJwill send you
You may file a lawsuit againsi the respondent(s) under federai law based on this charge in federai or state court. your
lawsuii must be filed WITHIN 90 DAYS of your receipt of this notice: or your right io sue Dased on this charge will be
losi. (The time limit for filing suit based on a claim under state law may be different.l

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations itrat occurred more than 2 vears (3 vears)
before you file suit may not be collectible.

                                                                         behalf of the Commission

                                                                                                                         q   /-,
Enclosures(s)
                                                                  Julianne Bowman,                                         (Date Mailed)
                                                                     District Director
           CITY COLLEGES OF CHICAGO
           c/o Valerie Harper
           Associate General Counsel ll
           Office of the General Counsel
           226W. Jackson Blvd.,
           Chicago, IL 60606
